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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
SYREETA LASHAWN MCNEAL,                               )
                                                      )
        Plaintiff,                                    )
v.                                                    )   Case No. 4:23-CV-01732-SEP
                                                      )
ANTHONY T. LOFTIES, ET AL.,                           )
                                                      )
        Defendants.                                   )
                                 MEMORDANDUM AND ORDER
        Before the Court are five motions to strike filed by Plaintiff. Docs. [172], [205], [225],
[246], [275]. Rule 12(f) of the Federal Rules of Civil Procedure permits the Court to “strike
from a pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous
matter.” Fed. R. Civ. P. 12(f). “A motion to strike is properly directed only to material
contained in pleadings.” Khamis v. Bd. of Regents, Se. Mo. State Univ., 2010 WL 1936228, at *1
(E.D. Mo. May 13, 2013) (quoting Mecklenburg Farm, Inc. v. Anheuser-Busch, Inc., 2008 WL
2518561, at *1 (E.D. Mo. June 19, 2008)). “Pleadings include complaints, answers, replies to
counterclaims, answer to cross-claims, third-party complaints, and third-party answers.” Milk
Drivers Local Union No. 387 v. Roberts Dairy, 219 F.R.D. 151, 152 (S.D. Iowa 2003). Because
the filings Plaintiff seeks to strike are not pleadings, the motions are denied. 1
        Accordingly,
        IT IS HEREBY ORDERED that Plaintiff’s motions to strike, Docs. [172], [205], [225],
[246], [275], are DENIED.


        Dated this 15th day of July, 2025.

                                                      SARAH E. PITLYK
                                                      UNITED STATES DISTRICT JUDGE


1
  Plaintiff’s motions to strike also contain requests for sanctions. Plaintiff’s requests for sanctions are
procedurally deficient and therefore denied. See Fed. R. Civ. P. 11(c)(2) (“A motion for sanctions must
be made separately from any other motion and must describe the specific conduct that allegedly violates
Rule 11(b). The motion must be served under Rule 5, but it must not be filed or be presented to the court
if the challenged paper, claim, defense, contention, or denial is withdrawn or appropriately corrected
within 21 days after service or within another time the court sets.”).
